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8                         IN THE UNITED STATES DISTRICT COURT

9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,               ) 2:10-CR-00299-WBS
                                             )
12                Plaintiff,                 )
                                             ) STIPULATION AND ORDER
13         v.                                ) CONTINUING JUDGMENT AND
                                             ) SENTENCING DATE
14   JAMES HOWARD REDMILL,                   )
                                             )
15                                           ) Judge: Hon. William B. Shubb
                  Defendant.                 )
16                                           )
                                             )
17

18                                      STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendant, by and through his counsel of record, hereby stipulate

21   as follows:

22      1. This matter was previously set for a Judgment and Sentencing

23         Hearing on November 18, 2013.

24      2. By this Stipulation, the parties now move to continue the

25         Judgment and Sentencing Hearing until February 10, 2014, at 9:30

26         a.m.

27   IT IS SO STIPULATED.

28   ///
29

30   Stipulation to Continue                  1              United States v. Redmill
            Case 2:10-cr-00299-WBS Document 342 Filed 11/08/13 Page 2 of 2


1    DATED: November 8, 2013              /s/ Justin L. Lee   _
                                        JUSTIN L. LEE
2                                       Assistant U.S. Attorney
3    DATED: November 8, 2013              /s/ Donald Dorfman     _
                                        DONALD DORFMAN
4                                       Attorney for JAMES HOWARD REDMILL
                                        (as authorized on November 7, 2013)
5

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7                                          ORDER
8          IT IS SO FOUND AND ORDERED.
9    Dated:   November 8, 2013
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30   Stipulation to Continue                  2              United States v. Redmill
